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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                       Case Number 4:01cr238

                                                         USM Number 16932-047

DEVIN PEAK
                       Defendant
                                                         Theresa M. Siglar

                                                         Defendant’s Attorney
___________________________________

                               JUDGMENT IN A CRIMINAL CASE
                       (For Revocation of Probation or Supervised Release)

THE DEFENDANT admitted guilt to violation of conditions 2, 5, 7, and Special Condition 8 of the
term of supervision.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                                               Date Violation
       Violation Number                  Nature of Violation                    Concluded


 1. (Standard Condition #2)        The defendant shall report to the         September 8, 2004
                                   probation officer and shall
                                   submit a truthful and complete
                                   written report within the first five
                                   days of each month.

 2. (Standard Condition #5)        The defendant shall work                     May 2, 2003
                                   regularly at a lawful occupation,
                                   unless excused by the probation
                                   officer for schooling, training, or
                                   other acceptable reasons.

 3. (Standard Condition #7)        The defendant shall refrain from            March 30, 2004
                                   excessive use of alcohol and
                                   shall not purchase, possess,
                                   use, distribute, or administer any
                                   controlled substance or any
                                   paraphernalia related to any
                                   controlled substances, except
                                   as prescribed by a physician.
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 4. (Special Condition #8)         Pursuant to 18 USC 3583(d),               September 8, 2004
                                   defendant shall submit to a drug
                                   test within fifteen (15) days of
                                   release on supervised release
                                   and at least two (2) periodic
                                   drug tests thereafter to
                                   determine whether the
                                   defendant is using a controlled
                                   substance. Further, defendant
                                   shall submit to such testing as
                                   requested by any U.S. Probation
                                   Officer to detect the presence of
                                   alcohol or controlled substances
                                   in the defendant’s body fluids
                                   and to determine whether the
                                   defendant has used any of
                                   those substances.

Original Offense: Bank Larceny in violation of 18 USC 2113(b) and 18 USC 2

The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                       Date of Imposition of Sentence:
                                                                                         May 13, 2005

                                                                          s/ Richard G. Kopf
                                                                          United States District Judge

                                                                                 May 17, 2005
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                                       IMPRISONMENT

It is ordered defendant’s term of supervised release is revoked. The defendant is hereby
committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of 14
months with no supervised release to follow.

The Court makes the following recommendations to the Bureau of Prisons:


The defendant is remanded to the custody of the United States Marshal.


                            ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______

                                                             _____________________________
                                                                     Signature of Defendant

                                           RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                        CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________
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                         CRIMINAL MONETARY PENALTIES

       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

        Total Assessment                       Total Fine                      Total Restitution

              $100.00                                                             $13, 150.00



                                                  FINE

          No fine imposed.


                                            RESTITUTION

         Restitution in the amount of $13, 150.00 is hereby ordered. The defendant shall make
restitution to the following payees in the amounts listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately
proportional payment, unless specified otherwise in the priority order or percentage payment
column below. However, pursuant to 18 U.S.C. § 3664(I), all nonfederal victims must be paid in
full prior to the United States receiving payment.

                                             **Total Amount                       Amount of
           Name of Payee                         of Loss                      Restitution Ordered

 U. S. Bank                                    $13,150.00                          $13,150.00

 Totals                                        $13,150.00                          $13,150.00


         **Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of
Title 18, United States Code, for offenses committed on or after September 13, 1994 but before April 23,
1996.
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                                     SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, the court orders that payment of the total criminal
monetary penalties shall be due as follows:

      The defendant shall pay the special assessment in the amount of $100 and restitution in
the amount of $13,150.00.

         Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise in the special instruction above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation officer or the United States attorney.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 111
S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly payment
amount, as ordered by the court. In the event a defendant is able to make a full or substantial
payment toward the remaining criminal monetary penalty, he or she shall do so immediately.

The defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the criminal
monetary penalty.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3)
restitution interest, (4) fine principal, (5) community restitution, (6) fine interest, (7) penalties, and
(8) costs, including cost of prosecution and court costs.




CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
